
CUTRER, Judge.
For the reasons assigned in the case of Cromwell v. Commerce &amp; Energy Bank of Baton Rouge, et al., 450 So.2d 1 (La.App. 3rd Cir.1984), the judgment of the trial court, granting the preliminary injunction, is reversed and set aside. The suit is hereby remanded for the limited purpose of considering appellants’ request for damages and attorney’s fees according to the provisions of LSA-C.C.P. art. 3608.
Plaintiff-appellee is to pay costs of the trial court and for this appeal.
REVERSED AND REMANDED IN PART.
PER CURIAM.
For the reasons set forth in the per cu-riam filed in the case of Cromwell v. Commerce &amp; Energy Bank of Lafayette, et al., 450 So.2d 1 (La.App. 3rd Cir.1984), the appeal of Combined Investments, Ltd., in-tervenor, is recognized. That portion of our judgment remanding the suit for the limited purpose of considering appellants’ request for damages and attorney’s fees, according to LSA-C.C.P. art. 3608, is hereby amended to include a consideration of the request of Combined Investments, Ltd., for damages and attorney’s fees.
In all other respects the judgment rendered by this court is to remain unchanged.
APPLICATION GRANTED AND JUDGMENT AMENDED.
